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1    CRIMINAL DEFENSE ASSOCIATES
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3    Telephone (800) 313-9619
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4
     Attorney for Defendant
5    PHILIP BRIZAN
6
7
                                      UNITED STATES DISTRICT COURT
8                                    EASTERN DISTRICT OF CALIFORNIA

9
                                                         ) Case No.: CR 06- 00059-AWI-6
10   UNITED STATES OF AMERICA,                           )
                                                         )
11                    Plaintiff,                           SUBSTITUTION OF ATTORNEY
                                                         )
             vs.                                         )
12                                                       )
     PHILIP BRIZAN                                       )
13
                                                         )
14                    Defendant                          )

15           Defendant, PHILIP BRIZAN, hereby substitutes Christopher D. Johnson of Criminal Defense

16   Associates, 20700 Ventura Boulevard, Suite 301, Woodland Hills, CA 91504, (800) 313-9619, as

17   attorney of record in place and stead of Katherine L. Hart, Esq.

18
             The undersigned consent to the above substitution.
19
     Dated: October 2, 2006                           ___________/s/ Christopher D. Johnson ________
20                                                    Christopher D. Johnson, New Attorney

21   Dated: October 2, 2006                           __________/s/ Katherine L. Hart _____________
                                                      Katherine L. Hart, Prior Attorney
22
                                                      ORDER
23
24           IT IS SO ORDERED that Christopher D. Johnson of Criminal Defense Associates be substituted

25   as counsel for defendant, Philip Brizan.

26   IT IS SO ORDERED.
27
     Dated:        October 3, 2006                         /s/ Anthony W. Ishii
28   0m8i78                                          UNITED STATES DISTRICT JUDGE

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